                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Robert Steven Burn
                                  Debtor(s)                                           CHAPTER 13

Nationstar Mortgage LLC d/b/a Mr. Cooper
                              Movant
               vs.
                                                                                  NO. 20-01436 HWV
Robert Steven Burn
                                  Debtor(s)

Charles J. DeHart, III Esq.
                                  Trustee

                              NOTICE OF MOTION, RESPONSE DEADLINE



          Nationstar Mortgage LLC d/b/a Mr. Cooper for a Motion to Approve Loan Modification with the
 court.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult an attorney.)

         1.      If you do not want the court to grant the relief sought in the motion, then on or before May
 4, 2021 you or your attorney must do all of the following:
                 (a)      file an answer explaining your position at:
                                   Ronald Reagan Federal Building
                                   228 Walnut Street Room 320
                                   Harrisburg, PA 17101

 If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it will
 be received on or before the date stated above; and
                  (b)      mail a copy to the movant's attorney:
                                    Rebecca A. Solarz, Esquire
                                    KML Law Group, P.C.
                                    Suite 5000 - BNY Mellon Independence Center
                                    701 Market Street
                                    Philadelphia, PA 19106-1532

          2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

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          3.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
 request a copy from the attorney named in paragraph 1(b).

         4.      You may contact the Bankruptcy Clerk's office at 717-901-2800 to find out whether the
 hearing has been canceled because no one filed an answer.

                                                   /s/ Rebecca A. Solarz, Esquire
                                                   Rebecca A. Solarz, Esquire
                                                   Attorneys for Movant/Applicant
                                                   Main Phone #: 215-627-1322

 April 13, 2021




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